                                                                                   21STCV30083
                          Case 2:22-cv-00232 Document 1-1 Filed 01/11/22 Page 1 of 25 Page ID #:5
                                     Assigned for all purposes to: Stantey Mosk Courthouse,Judicial Officer: Barbara Meiers
¢tronically FILED by Suipesjor Court of California, County of Los Angeles on 08/13/2021 06:29 PM Sheri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clon

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                            Edward Wells (SBN 321696)
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                     3      Pasadena, CA 91101-2672
                            Tel: 626.396.9900 / Fax: 626.396.9990
                     4      Email: firm@romerolaw.com

                     5      Attomeys forPlaintiff
                            HOWARD WILLIAMS
                     6

                     7

                     8                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

                     9                                   COUNTY OF LOS ANGELES —- CENTRAL DISTRICT

                    10

                    11      HOWARD WILLIAMS,an individual, by and                                          Case No.:             21ST CY 30083
                            through his Guardian Ad Litem Racquel Birch;
                    12                                             .                                       UNLIMITED COMPLAINT FOR
                                                              Plaintiff,                                   DAMAGES
                    13
                    4                  V.                                                                  1. Excessive Force (42 U.S.C. § 1983)
                                                                                     .                     2. Failure to Protect (42 U.S.C. § 1983)
                            COUNTY OF LOS ANGELES,a political                                              3. Deliberate Indifference to Serious Medical
                   15       subdivision of the State of California; and DOES                                    Needs (42 U.S.C. § 1983)
                            1-99, inclusive;                                                               4.   Public EntityTial
                                                                                                                              Liability (42              U.S.C. § 1983)
                    16                                                                                     5. Bane Act (Civ. Code § 52.1)
                                                              Defendant.                                   6. Failure to Summon Immediate Medical
                   17                                                                                            Care (Gov’t Code § 845.6)
                   18                                                                                      [JURY FEE DEPOSIT POSTED.]
                   19
                   20                  COMES NOW THE Plaintiff HOWARD WILLIAMS(“Plaintiff”), by and through his
                   31       Guardian Ad Litem, Racquel Birch, whoheretofore alleges the following facts in support of their
                   9        Unlimited Complaint for Damagesand hereby respectfully demands a speedyjury trial on all causes
                            of action stated herein as against COUNTY OF LOS ANGELES(“COLA”), who along with DOES
                   23
                            1-99, inclusive, are referred to herein as the “Defendants”.
                   24
                                                                                         CASE SYNOPSIS
                   29                   1.        Plaintiff Howard Williamsis a pretrial detainee in the custody of the County of Los
                   26
                            Angeles. At the time of his injuries, he was an inmate at Men’s Central Jail. After his injuries, he
                   27       was taken to LAC+USC Medical Center, where he remainsto this day.
                   28


                                                                                                     1
                                                                       UNLIMITED COMPLAINT FOR DAMAGES
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                                           2.      On or about December 14, 2020, Plaintiff Williams was struck on the head,either by
              =
              NO                   a fellow inmate, or a jailer. Williams’s body crumpled to the ground. Williams was in medical
                                   distress that was open and obvious even to the medical layman.
              WwW




                                           3.      Plaintiff Williams wasleft to languish in his cell for a period exceeding three hours.
              &




                                   During thattime, jailers either complied with their obligation under California Code ofRegulations,
              AD




                                   Title 15, section 1027.5 to observe Williamsin his cell on an hourly basis in order to check on his
              Dn




                                   safety and wellbeing, saw him crumpled on the ground, and did not summon medicalcare, or they
              NN




                                   abdicated their responsibility underTitle 15 and did not observe Williamsin his cell. In either case,
              CO




                                   Williams wasleft unattendedin hiscell after a grievous blow to the head.
             Oo




                                           4.      Williams suffered a stroke as a result of his head trauma. This stroke wasnottreated
   fms
er




                                   in a timely fashion, causing Williams to suffer from what modern medicine calls “locked in
mh




                                   syndrome.” Williams now suffers from locked in syndrome.
       meh
ON




                                           5.      Locked in syndromeis total paralysis, except in some cases (including Williams’s
   tem




                                   case) the eyes, combined with a complete and healthy cognitive and volitional capacity. People
me




                                   afflicted with locked in syndromeareliterally locked in their own bodies, unable to move, unable
                             mm
UhOllUlUNCOCUlUlUOUCUNLlUCONCOC




                                   to communicate, unable to meet their own needs, with full understanding of their condition and a

                                   full capacity to form desires, aims, and goals. Thoseafflicted with locked in syndrome are complete
      mim




                                   subjects of their environment, unable to affect it in even minimal ways, with a full understanding of

                                   this and a full understanding that they will remain this way for the rest of their lives.
                                           6.      Plaintiff's prognosis is poor, and heis not expected to have even a minimalrecovery.

                                           7.      The acts and/or omissions of COLA employees, acting undercolor of law andin the
DRO




                                   course and scope of their employment with the COLA caused Plaintiff to suffer grievous,
   NO
Nl!




                                   permanent, and life-altering injuries, including but not limited to locked in syndrome.
KO




                                           8.      Plaintiff's injuries in custody resulted from the official policy of the County of Los
NO
OW




                                   Angeles that jail should be dismal and punitive, even to those not convicted of a crime,in violation
HO
Be




                                   of the 14th Amendment. Additionally, in view of the decades-long history of inmate deaths and
NO
AR




                                   injuries in County custody, beginning at least in 1999 and running continuously to the present (as
NO
OBO




                                   set forth below), the County failedto train its jailers adequately. To the extent that the events at issue
NYO
NN




                                   in this lawsuit have been investigated, yet no discipline has been imposed on any County jailer, the
No
ao




                                   County hasratified the misconductat issue in this lawsuit and is therefore liable forit.

                                                                                      2
                                                                 UNLIMITED COMPLAINT FOR DAMAGES
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                                           ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
          =
          NO                                                     Jurisdiction and Venue

                                  9.      This Court has jurisdiction of the subject matter of Plaintiff's claims. Jurisdiction is
          Ww




                          proper in this Court because the damages and claims alleged and demanded herein by Plaintiff
          &




                          exceeds $25,000, and Plaintiff herein does make a demand andprayer for damages, in excess, of the
          DW




                          jurisdictional limit of this Court.
          DH




                                  10.     This Court has personal jurisdiction over Defendant COLA in that it was, at all
          NN




                           relevant periods of time covered by this complaint, a political subdivision of the State of California
          CO




                           maintaining all of its places of business in the County of Los Angeles.
          Oo




                                  11.     Venue in this Court is properin that, upon information and belief, Defendants reside
     fem
ORONO




                           in the County of Los Angeles.

                                  12.     All the harm suffered by Plaintiff took place within this judicial district.
tame




                                                                       The Plaintiff

                                  13.     Plaintiff was, at all relevant periods of time covered by this complaint, an inmateat

                          the Men’s Central Jail located at 441 Bauchet Street, Los Angeles, CA 90012.
tm
UCONN




                                                                     The Defendants

                                  14.     Defendant COLAis a public entity who maintaims a place of business, where it

                          incarcerated Plaintiff at 441 Bauchet Street, Los Angeles, CA 90012.
             om
lUDOlUlUCUCUNCOlUmwOUN




                                                          Relationship Between the Defendants

                                  15.     Plaintiff is informed and believes, and thereupon alleges, that Defendants, and each
NRO




                          of them, were at all times mentioned herein the agents, servants, and employees of each other, or

                          otherwise were acting with the full knowledge and consent of each other. Plaintiff is further
   NO
Ole




                          informed and believes, and upon such basis andbeliefalleges, that in doingall the things alleged in
NO




                          this complaint, Defendants, and each of them, were acting within the scope and authority of their
BD
YOUN




                          agency, servitude, or employment, and were acting with the express and/or implied knowledge,
KH
ee




                          permission, and consent of one another. Plaintiff is further informed and believes, and upon such
BP
AR




                          basis andbelief alleges, that Defendants learnedof, ratified, and/or approved the wrongful conduct
NO
BO




                          of its agents and/or employeesidentified in this Complaint as having engaged in wrongful conduct.
NO
NN




                                  16.     Plaintiff is informed and believes, and thereupon alleges, that at all relevant times,
NO
oO




                          Defendants, and each of them, were business entities or individuals who owned, controlled, or

                                                                             3
                                                         UNLIMITED COMPLAINT FOR DAMAGES
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          managed the business which has damaged Plaintiff, and are each therefore jointly, severally, and
  =
  NHN     individually liable to Plaintiff.
                  17.     Plaintiff is informed and believes, and thereupon alleges, that at all relevant times,
  WY




          Defendants, and each of them, were in some fashion, by contract or otherwise, the successor,
  &




          assignor, indemnitor, guarantor, or third-party beneficiary of one or more of the remaining
  AD




          Defendants, and at all relevant times to Plaintiff's claims alleged herein, were acting within that
  DO




          capacity. Plaintiff further alleges that Defendants, and each of them, assumedtheliabilities of the
  SN




          other Defendants, by virtue of the fact that each to some degree, wrongfully received and/or
  &




          wrongfully benefited from the flow of assets from the other Defendants to the detriment of Plaintiff.
  Oo




          Plaintiff further alleges that by wrongfully receiving and/or benefiting from Defendants’ assets, and
amt
  OC




          in the consummation of such transactions, a de facto merger of the Defendants, and each of them,
  KY
me




          resulted, such that Defendants, and each of them, may be treated as one for purposes of this
  NYO
ht




          Complaint.
  W




                  18.     Plaintiff is informed and believes, and thereupon alleges, that at all relevant times
  &




          mentioned herein, Defendants, and each of them, were the partners, agents, servants, employees,

          jot venturors, or co-conspirators of each other defendant, and that each defendant was acting
mmm
  HW




          within the course, scope, and authority of such partnership, agency, employment, joint venture, or
  DB




          conspiracy, and that each defendant, directly or indirectly, authorized, ratified, and approved the
  NHN




          acts of the remaining Defendants, and each of them.
Dm
  DWH




                                                   Factual Allegations
  Ob




                  19.     Plaintiff is a pretrial detainee in the custody of the County of Los Angeles under
  CF




          booking number 3896208. Atthe times before he suffered the grievous andlife-shattering injury set
NO
  —§-&




          forth in this Complaint, and during the time he suffered the same, Plaintiff was housed in the Men’s
DO
  NHN




          Central Jail, 441 Bauchet St., Los Angeles CA 90012-2906, Tier 4400, block CJ, cell A0007. After
NN
  Ww




          Plaintiff suffered the terrible injury at issue in this lawsuit, he was eventually housed in the
YO
  &-




          LAC+USCMedical Center, 1200 N. State Street, Inpatient Tower, Los Angeles, CA 90033, where
NO
  A




          he remains to this day as a pretrial detainee.
NO
  DO




                  20.     ‘Before Plaintiffsuffered the permanent, irreversible, and life-altering injuriesat issue
NO
  N




          in this lawsuit, he was a healthy, approximately 37-year-old man with physical sensation and
Ny
  oo




                                                             4
                                         UNLEMITED COMPLAINT FOR DAMAGES
                                                 Case 2:22-cv-00232 Document 1-1 Filed 01/11/22 Page 5 of 25 Page ID #:9


                                                  without paralysis who could walk, speak, communicate with others, and wasnottrappedin his body,
                   HN                             fully conscious, yet unable to interact with the world.
                                                         21.     On or about December 14, 2020, while Plaintiff was in the custody of the County of
                   WY




                                                  Los Angeles as a pretrial detainee at Men’s Central Jail, Plaintiff suffered a traumatic blow to the
                   &—




                                                  head. This blow to the head caused Plaintiff to crumple to the ground in his cell, laying there
                   DA




                                                  unresponsive and in a manner obviously meriting immediate medical attention, even to the medical
                   BO




                                                  layman. Plaintiff's medical emergency was obvious, conspicuous, and necessitated immediate
                   NY




                                                  medicalattention.
                   Oo




                                                         22.     Because Plaintiff suffers from locked in syndrome, as detailed in the following
                    oO




                                                  paragraphs, Plaintiff is unable to communicate and as suchalleges as follows, in the alternative: (1)
pet
CO




                                                  Plaintiff was struck on the head by custody staff at Men’s Central Jail, without provocation by
                                            Nl
                                emp




                                                  Plaintiff and in responseto nothreatto officer safety; (2) Plaintiff was struck on the head by a fellow

                                                  inmate at Men’s Central Jail, where custody staff failed to segregate Plaintiff from his aggressor,
                                         Oe




                                                  after custody staff knew or should have known that Plaintiff was at substantial risk of being beaten

                                                  by his aggressor.

                                                         23.     This blow to the head went untreated and ignored by custody and medicalstaff at the
OUlUhreRlUOCOlUlCUCCOlUlUmwOWUUNSCUCONON




                                                  Men’s Central Jail for a period of time in excess of three hours, despite the custody staff being

                                                  mandated by California Code of Regulations, Title 15, section 1027.5, to perform hourly safety
      RD




                                                  checks of inmates, including Plaintiff. Jailers at the Men’s Central Jail failed to comply with Title
                                                  15, section 1027.5 and did not check on Plaintiff to ensure his health and wellbeing on at least an
                                                  hourly basis. In the altemmative, jailers at the Men’s Central Jail performed Title 15 safety checks on
                                                  Plaintiff, observed his ongoing medical emergency and need for immediate medical care, and
ND




                                                  ignored it for a period in excess of three hours, after Plaintiff failed to respond to one or more
   ND
YOUN




                                                  inquiries by custody staff that probed Plaintiff's consciousness, health and/or wellbeing.
RO




                                                         24.     During the 3+ hours Plaintiff remained on the floor of his cell after suffering a
HR
ee




                                                  debilitating blow to the head, Plaintiff's medical situation went from emergentto irreversible and
NO
OH




                                                  life-altering. The blunt force of the blow to Plaintiff's head caused a pontine-ischemic stroke, which
NO
   NO




                                                  went completely untreated while Plaintiff languished on the floor ofhis cell.
BR




                                                         25.     Eventually, far too late to prevent the grievous injuries Plaintiff now suffers from,
BS
o




                                                  someone at Men’s Central Jail called for medical assistance, reporting that Plaintiffwas undergoing

                                                                                                    5
                                                                               UNLIMITED COMPLAINT FOR DAMAGES
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                             seizures. On or about December14, 2020, Plaintiff was admitted to LAC+USC Medical Center,
   Ne                        where he wasattended to at the Emergency Department. Doctors there diagnosed a major stroke in

                             the central part of his brain, total paralysis, and what modern medicinecalls “locked in syndrome.”
   YD




                                    26.     Locked in syndrome is a permanent and ireversible personal hell in which the
   ee




                             afflicted person is trapped inside the body, completely paralyzed and unable to communicate, but
   WD




                             fully conscious, awake, and alert, with a rich internal mental life, tormented by paralysis, lack of
   DO




                             basic bodily functions without medical assistance, and a complete or almost total lack of personal
   NN




                             expression. A person with locked in syndromehasdesires,aims, goals, thoughts, and opinions, and
   S&F




                             yet is unable to achieve or express them. A person with locked in syndromeis a powerless subject
   oOo




                             of his or her environment, unable to affect it in any meaningful way, and is unable to exercise his or
eed
   lr




                             her will. Yet, the person with locked in syndromeretains the full cognitive and volitional capacity
heh




                             of a healthy human being. Thus, a person with locked in syndrome cannot meethis or her needs, be
                             they physical, psychological, or otherwise, but is at the same time capable of understanding his or
   eee




                             her needs, and his or hertotal practical impotence. The result is endless torment that the afflicted
                             person knowswill last the rest of his orherlife.
  De
mm




                                    27.     At this time, Plaintiff suffers from locked in syndrome and can moveonly his eyes

                             and answeryes or no questions thereby. Plaintiff can breathe in a limited capacity on his own but

                             has a breathing tubein his throatto aid his breathing. By the normal operation of his body, Plaintiff
  UOlUlUNCOllUlUCOOUMGSO




                             secretes matter into this tube, which requires cleaning by suction every 1-4 hours. If plaintiff's
om




                             breathing tube is not suctioned clean, he will choke on his own secretions. Plaintiff is unable to eat
Rm




                             or feed himself and is fed by means of a special nutrient formula through a feeding tube surgically
                             inserted into his stomach. Plaintiff has a tube inserted into his bladder to drain urine because heis
DR




                             unable to urinate on his own.Plaintiff is kept on a special bed designed to decrease pressure on his
NYO
  OYUN




                             body to prevent bed sores because he is unable to move himself. Plaintiff must be tumed every 2
NN




                             hours to prevent bed sores.
ww
  Re




                                    28.     Plaintiffs prognosis is poor. There is a low expectation for even a limited recovery.
NO
 Ah




                                    29.     ‘If Plaintiff had been provided the immediate medical care he required, he would not
NO
 BO




                             suffer from locked in syndrome.
NO
 NN




                                    30.     Plaintiff additionally alleges the following,in the alternative: (1) if Plaintiff had not
No
 oOo




                             been struck on the head by custody staff at Men’s Central Jail, he would not have suffered the harms

                                                                                6
                                                           UNLIMITED COMPLAINT FOR DAMAGES
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                           set forth in this Complaint; (2) if Plaintiff had been adequately protected and notstruck on the head
         NHN               by a fellow inmate at Men’s Central Jail, he would not have suffered the harmsset forth in this
                           Complaint.
         WD




                                  31.     On or about March 26, 2021, Dr. Shazia Kahn, MD of LAC+USC Medical Center,
         ee




                           1200 N.State Street, Inpatient Tower, 2nd Floor, Room C2K100, Los Angeles, CA 90033, sent a
         DO




                           letter to Hon. Richard M. Goul, Judge of the Los Angeles County Superior Court, Dept. S21, Gov.
          BO




                           George Deukmejian Courthouse, 275 Magnolia Ave., Long Beach, CA 90802, describing Plaintiff’s
          SN




                           medical diagnosis and prognosis. A true and correct copyofthis letter is attached hereto as Exhibit
          COCO




                           1. This letter was filed with the Court on or about April 1, 2021.
          Oo




                                                      No Claims Arising from Privileged Conduct
mmf
                     S&S




                                  32.     In the avoidance of doubt, Plaintiff does not herein allege any claim for damagesas
                  KH




                           against Defendants for any privileged action, such as the conducting of an investigation by a public
               NY




                           entity. Plaintiff, however, reserves the right to claim all damages arising out of consequences or
            WY




                           actions resulting from, or occasioned by, such a privileged investigation by a public entity.
          &




                                  33.     Plaintiff expressly excludes from this Complaint any privileged act by any Defendant
       TH




                           to this action that would otherwise result in a Special Motion to Strike pursuant to.Code Civ. Proc.

                           § 425.16.
   DBD




                                              Public Entity Liability for Wrongful Acts of Its Employees
aD




                                  34.     Pursuant to Gov. Code § 815.2, Defendant COLAis liable for injury proximately
RD
       DBD




                           caused by acts or omissions of its employees within the scope of their employment if the act or
    Ob




                           omission would, apart from this section, have given rise to a cause of action against that employee
COS




                           or his personal representative. Plaintiff heretofore alleges that the wrongful acts by Defendants
DQ
KFKF&




                           DOES1-99, inclusive, caused the injuries to her as set forth in this complaint, in that these acts or
NO
NHN




                           omissions would have given rise to a cause of action against them and in favor of Plaintiff,
NO
WD




                           independent of Gov. Code § 815.2.
DO
&—




                                  35.     Further, pursuant to Gov. Code § 820, Defendants DOES 1-99, inclusive, are liable
NYO
DA




                           for injuries causedby their acts or omissions to the same extent as a private person. Plaintiff further
KN
BO




                           alleges that Defendants DOES 1-99, inclusive, caused her injuries, as set forth in his complaint, and
NO
nN




                           are therefore liable to her for damages arising out of those injuries as authorized by Gov. Code §
NN
ao




                           820.

                                                                             7
                                                        UNLIMITED COMPLAINT FOR DAMAGES
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                                                                      Exhaustion of Administrative Remedies
                 =
                NO                               36.    Plaintiff presented a Government Tort Claim to COLA on March 31, 2021. COLA

                                         denied the claim on May 20, 2021, by meansofa letter ofthe same date. This lawsuit has thus been
                W




                                         timely brought as authorized by Gov. Code § 945.6(a)(1). True and correct copies of Plaintiff's
                &—




                                         Government Tort Claim and the County’s rejection letter are attached hereto as Exhibit 2.
                DW




                                                                            FIRST CAUSE OF ACTION
                DH




                                         Excessive Force — 42 U.S.C. § 1983 — 14th Amendment, U.S. Const. / 4th Amend, U.S. Const.
                NN




                                                                        (Against All Individual Defendants)
                Oo




                                                 37.    Plaintiff realleges, and incorporates herein by their reference, each and every
                Oo




                                         allegation contained in the foregoing Paragraphs, inclusive, as though fully set forth herein.
          em
lUlUlULeElCUD




                                                 38.    DOES1-10 are jailers responsible for Plaintiff when Plaintiff was at Men’s Central
fa




                                         Jail.
teh
               UN




                                                 39.    On or about December 14, 2020, DOES1-10 beatplaintiff on the head, causing his
ClUMReelUlUMhe




                                         injuries.

                                                 40.    When DOES1-10 beat plaintiff on the head, causing his injuries, they were not acting

                                         in responseto any threat to officer safety.
mm
Ul




                                                 41.    When DOES1-10 beat plaintiffon the head, causing his injuries, they were not acting
                 mw
llUCOCOlUlUNODUCUlUCOOUCUCUONLULUCON




                                         in response to any provocation by Plaintiff.

                                                 42.    By beating Plaintiff on the head in response to no provocation and not in response to
                                         any threat to officer safety, DOES 1-10 caused Plaintiff's injuries.
        wm




                                                 43.    DOES1-10 acted under color of California law atall times relevantto this lawsuit.
RQ




                                                 44.    DOES1-10 deprived Plaintiff of his rights guaranteed by the 14th Amendment of
NO
|




                                         the United States Constitution in acting as set forth in this Complaint.
NO
NOOR




                                                 45.    DOES1-10 deprived Plaintiff of his rights guaranteed by the 4th Amendmentofthe
HO
BY




                                        United States Constitution in acting as set forth in this Complaint.
WH
Se




                                                 46.    Plaintiff pleads this cause of action in the alternative to his Second Cause of Action.
A
NO




                                         Hf
NNO
OO
NO
NSN
ao
NO




                                                                                           8
                                                                      UNLIMITED COMPLAINT FOR DAMAGES
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                                                                    SECOND CAUSE OF ACTION
             NO                                 Failure to Protect — 42 U.S.C. § 1983 - 14th Amendment, U.S. Const.

                                                                  (Against All Individual Defendants)
             YD




                                          47.      Plaintiff realleges, and incorporates herem by their reference, each and every
             ee




                                  allegation contained in the foregoing Paragraphs, inclusive, as though fully set forth herein.
             WD




                                          48.      DOES11-20 arejailers responsible for Plaintiff when Plaintiff was at Men’s Central
             BO




                                  Jail.
             SN




                                          49.      DOES 11-20 knew that Plaintiff was at substantial risk of being beaten by one of
             CO




                                  Plaintiff's fellow mmates at Men’s Central Jail.
             uo




                                          50.      DOES 11-20 intentionally failed to segregate Plaintiff from the inmate who beat him.
mt
Kl




                                          51.     DOES 11-20 could have, but did not, caused Plaintiff to be housed elsewhere in

                                  Men’s Central Jail, away from the inmate who beat him.

                                          52.     Byfailing to house Plaintiff away from the inmate who beat him, Does 1-10 caused
me
   Oa




                                  Plaintiff s injuries.

                                          53.     DOES 11-20 acted under color of California law in acting as set forth in this

                                  Complaint.
OR




                                          54.     DOES 11-20 deprived Plaintiff of his rights guaranteed by the 14th Amendment of
                             mm
lUDOlUlUlUlCUNCOlUlUOWUNLUCUCNO




                                  the United States Constitution in acting as set forth in this Complaint.
                 mmm




                                          55.     Plaintiff pleads this cause of action in the alternative to his First Cause of Action.
                                                                     THIRD CAUSE OF ACTION
      NO




                                     Deliberate Indifference to Serious Medical Needs — 42 U.S.C. § 1983 — 14th Amendment,

                                                                                U.S. Const.
NR




                                                                  (Against All Individual Defendants)
   NY
HUN




                                          56.     Plaintiff realleges, and incorporates herein by their reference, each and every
KR




                                  allegation contained in the foregoing Paragraphs, inclusive, as though fully set forth herein.
NO
Se




                                          57.     DOES21-30 are jailers responsible for Plaintiff when Plaintiffwas at Men’s Central
NY
TW




                                  Jail.
DN
Oo




                                          58.     DOES 21-30 intentionally failed to monitor Plaintiff's cell adequately.
 nN
 DN
 Nw
 ao




                                                                                     9
                                                                UNLIMITED COMPLAINT FOR DAMAGES
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                             59.     In the alternative to paragraph 51, DOES 21-30 observed Plaintiff crumpled on the
       YN            floor of his cell, in medical distress obvious to the medical layman, and intentionally failed to call
                     medical assistance forPlaintiff.
       WY




                             60.     DOES 21-30s’ failure to monitor Plaintiff's cell adequately and/or failure to call
       &—




                     medicalattention for Plaintiff after observing him in open and obvious medical distress put Plaintiff
       DW




                     at substantial risk of suffering serious harm.
       A




                             61.     DOES 21-30 failed to take reasonable available measures to abate Plaintiffs
       NN




                     substantial risk of suffering serious harm, alternatively: (1) monitoring Plaintiff's cell adequately in
        Oo




                     compliance with California Code of Regulations, Title 15, section 1027.5, or (2) calling medical
        Oo




                     assistance for Plaintiff upon observing him in open and obvious medical distress.
eee
   on)




                             62.     Byfailing to take reasonable available measures to abate Plaintiff's substantial risk
                     of suffering serious harm, DOES 21-30 caused Plaintiff's injuries.
\°




                                                        FOURTH CAUSE OF ACTION
               eS’
          mmm




                     Public Entity Liability — 42 U.S.C. § 1983 - 14th Amendment, U.S. Const. / 4th Amendment,

                                                                   U.S. Const.
            no




                                                 (Against Defendant County of Los Angeles)

                             63.     Plaintiff realleges, and incorporates herein by their reference, each and every
“o>




                     allegation contained in the foregoing Paragraphs,inclusive, as though fully set forth herein.
                             64.     The individual defendants beat Plaintiff on the head, and later ignored his medical

                     needs, causing him to suffer from locked in syndrome.
                             65.     In the alternative, the individual defendants intentionally failed to monitor Plaintiff's
       RD




                     cell adequately, causing him to suffer from locked in syndrome.
    ND




                             66.     In the alternative, the individual defendants observed Plaintiff crumpled on the floor
BRD




                     ofhis cell, inmedical distress obvious to the medical layman, and intentionally failed to call medical
   NO
SS




                     assistance for Plaintiff, causing him to suffer from locked in syndrome.
ND




                             67.     The individual defendants’ failure to monitor Plamtiff’s cell adequately and/or
Ss
   NO




                     failure to call medicalattention for Plaintiffafter observing him in open and obvious medical distress
NH




                     put Plaintiff at substantial risk of suffering serious harm.
NO
a




                             68.     The individual defendants failed to take reasonable available measures to abate
[eo
NO




                     Plaintiff's substantial risk of suffering serious harm, alternatively: (1) monitoring Plaintiff's cell

                                                                       10
                                                   UNLIMITED COMPLAINT FOR DAMAGES
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                                   adequately in compliance with California Code of Regulations, Title 15, section 1027.5, or (2)
  me
  NH                               calling medical assistance for Plaintiff upon observing him in open and obvious medical distress.
                                           69.     Byfailing to take reasonable available measures to abate Plaintiff's substantial risk
  WD




                                   of suffering serious harm, DOES 21-30 caused Plaintiff's injuries.
  me




                                           70.‘    The individual defendants acted undercoloroflawatall times relevantto this action.
   HW




                                           71.     The individual defendants acted in the course and scope of their employment as Los
   DW




                                   Angeles County Sheriff's Deputies or other LASD or County ofLos Angeles employeesatall times
   Ss




                                   relevantto this litigation.
   CO




                                           72.     Defendant County of Los Angeles has a decades-long and sordid history of inmate
   Oo




                                   deaths and injuries in its jails, caused by failure to take corrective action to prevent the failure to
eee
   eellUMhULULULDNGUlCUMreECCUCD




                                   properly provide reasonable security to inmates from one another, batteries by jailers, and failure to

                                   provide adequate medical care in its jails. This history is known to Alex Villanueva, the elected
wah




                                   Sheriff during the times relevant to this action, just as it was known to his elected predecessors. Like
                                   his predecessors, Sheriff Villanueva has not taken action sufficient to curb or even meaningfully

                                   reduce the decades-long trend of violence, brutality, and callous disregard for humanlife that is by

                                   now a commonplace in the jails administered by the Los Angeles County Sheriff's Department. In
  SLUM




                                   that respect, the brutality and disregard for human life that caused Plaintiff to become consigned to
                                   the lifelong, personalhell of locked in syndromeis the official policy of the County of Los Angeles
                                   for purposes of Monell v. Dept. of Soc. Servs., 436 U.S. 658 (1978). Because the County of Los
  lCcCOCOlUlUlClCUNOClUOUOCUl




                                   Angeles Sheriff's Department is aware of the decades-long history of inmate abuseatis jails, and
Dw




                                   yet the abuse continues to this day, it has failed to train its deputies for purposes of City of Canton,
                                   Ohio v. Harris, 489 U.S. 378 (1989). Moreover, Plaintiff is informed and believes that to the extent
DN
  S|




                                   that the circumstances of his life-altering injuries have been investigated by the County of Los
 NOOR
NO




                                   Angeles, either through the Sheriff's Department or otherwise, the County found no wrongdoing on
HN
 WY




                                   the part of any Sheriff’s deputy or other County employee. This constitutes ratification for purposes
DO
 Se




                                   of City ofSt. Louis v. Praprotnik, 485 U.S. 112 (1988). In the avoidance of doubt, Plaintiffproceeds
NO
 COW




                                   against the County of Los Angeles in his municipalliability claim on the theories ofMonell, City of
NO
 AN




                                   Canton, and Praprotnik.
NO
 nN




                                   /ft
No
 o




                                                                                     11
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                                     A brief history of the ongoing abuse of prisoners in County of Los Angeles Jails that can only

   eH
   NO                                              be fairly described _as the official policy of the County of Los Angeles

                                             73.     Beginning as early as June 1996, the United States Justice Departmentinitiated its
   WD




                                     inquiry into the conditions and operation ofthe County ofLos Angeles jails. On September 5, 1997,
   Be




                                     the DOJ gave the Sheriff's Department, the County of Los Angeles, and former Sheriff Leroy Baca
   A




                                     clear and unmistakable notice of constitutionally deficient jail conditions, reporting its findings of
   BDO




                                     continued and serious patterns of constitutional violations, abuses of inmates by LASD employees,
   SN




                                     and deliberate indifference to inmate-on-inmate violence and deaths in the jails. Sheriff Baca and
   OF




                                     the Sheriff's Department’s Executive Council reviewed the DOJ’s findings and conclusionsrelated
    Oo




                                     to the mismanagementof the Custody Division, the agency of the Sheriff's Department responsible
meet
    Ne




                                     for managing the County of Los Angeles jails. Despite these findings, the constitutional violations,

                                     abuse, and deliberate indifference continues unabated.

                                             74.     ‘In 1999, underthreat of litigation against the Sheriff and County of Los Angeles by
   Oa




                                     the United States DOJ, the Sheriff's Department and the County of Los Angeles submitted to a

                                     Memorandum of Understanding with the Department of Justice designed to curb the pattern and
   MEN




                                     practice ofjail abuses and constitutional violations which required formerSheriff Baca, the Sheriff's

                                     Department, and the County to recognize, address, and remedy the dangerous conditions in the

                                     County jails. Former Sheriff BACA personally executed the Memorandum of Understanding and
Om
  UlUOCOlUlUlUlUNCOlUlUDWOUCUMUGSO




                                     represented he would ensure compliance by the Sheriff's Department. He did not do so. In 2006,
                                     after years of DOJ monitormg the County’s compliance with the MOU, the DOJ issued a report

                                     recounting the County’s continuing failure and refusal to correct the unconstitutional pattern and
RD




                                     practices that still afflict the County jails. Former Sheriff Baca and former Assistant Sheriff Cecil
  OWDONOlUlhreER
ND




                                     Rhamboreceived and read the 2006 DOJ report yet continued to refuse to implementpolicies that
ND




                                     would abate the prisoner abuse in the County jails.
NO




                                             75.     On July 6, 2002, inmate Ramon Gavira wasseverely beaten by a Deputy Sheriff and
NY
  Pe




                                     waskilled in his cell. In the investigation into that murder, Deputies and jail staff testified that they
NY
  NO




                                     had not been subjected to an investigation or disciplined for lapses in supervision of Gavira nor for
NO
  BO




                                     the physical abuse to which County employees subjected Gavira to in custody. Former Sheriff Baca
NO
  nN




                                     waspersonally advised of these employee admissions and took no action of any kindto discipline,
No
  ao




                                     reprimand or prosecute any responsible employees. Sheriff Villanueva, the elected sheriff at all

                                                                                       12
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                                   times relevant to this action, has not made any meaningful policy change. According to official
   Oe
   NR                              County policy, murderis legal and even morally correctif the killer is a Deputy and the victim is an
                                   inmate.
   YD




                                             76.   On March 22, 2003, former Sheriff Baca was made aware that Hispanic inmate
   ee




                                   gangs were attacking Black inmates and that the County jails were failing to provide reasonable
   AR




                                   security for such inmates. As a consequence, inmates Ahmad Burrel, Rory Fontanelle, and Aaron
   DON




                                   Cunningham were violently assaulted and injured by fellow inmates. Despite this knowledge,
   NN




                                   neither former Sheriff Baca nor the County took any remedial action to address the obvious issues
    CO




                                   of inmate security. Sheriff Villanueva has made no meaningful policy change.
    oOo




                                             77.   On October 21, 2003, inmate Ki Hong was killed by inmates while in custody.
   Ole
meth




                                   Former Sheriff Baca wasalerted to the serious deficiencies that caused Hong’s death, but neither

                                   he, the County, or the Sheriff's Department did anything to address this murder, plotting another
                                   point on the policy curve that murderis legal and permitted if the victim is a County inmate. Hong’s
   ea




                                   homicide became the first of 5 more inmate-on-inmate homicides in the subsequent six months.
                                   Sheriff Villanueva has failed to make any meaningful policy change.
  OlUlUlUNOlUlUOWUCUMUNSCUCUCNNO




                                             78.   On December6, 2003, inmate Prendergast was violently attacked by fellow inmates

                                   for a period ofseveral hours. Custody staff on duty, including supervisors, refused to prevent the

                                   violence or intervene. They were not prosecuted or disciplined by the County. Sheriff Villanueva

                                   has refused to make any meaningful policy change. The official policy ofthe County ofLos Angeles
                                   is that inmate-on-inmate violence, even violence that lasts for hours at a time, is permitted and is a

                                   sunplefact ofjail life, despite the prohibition ofpunitive conditions for pretrial detainees in jail. See
DD




                                   Kingsley v. Hendrickson, 576 U.S. 389, 397-98 (2015) (quoting Graham v. Connor, 490 U.S. 386,
  S|
ND




                                   395 n. 10 (1989).
ND
  NO




                                             79.   On December 9, 2003—a mere three days after the Prendergast brutality—inmate
DO
  WY




                                   Mario Alvarado, aka Victor Cortez, was murdered by inmates while in County custody. Assailants
RO
  Se




                                   were left without oversight or supervisionfor a period oftime long enoughto allow them to conceal
NN
  AOD




                                   Alvarado’s corpse. The County investigated this murder and refused to discipline any County
NO
  NO




                                   employee; no employee was prosecuted. Sheriff Villanueva has failed to make any meaningful
NO




                                   policy change to addressthisissue.
BO
  ao




                                                                                     13
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                  80.   On December 13, 2003, Los Angeles County Sheriff's Department Deputies falsified
  NO     the contents of reports relatmg to Jose Beas. Beas admitted sex crimes against children, which, by
         the Sheriff's Departmentpolicies, required that he be segregated from the general population. But
  WY




         County custody employees instead put him in the jails’ general population, where fellow inmates
  &—




         predictably attacked him with extreme severity, causing brain damage. The County approveda civil
  DW




         settlement with respect to this violence, but failed to hold any employee responsible forthe blatant
  DO




         and purposeful disregard for Beas’s safety, and pretrial punishment in violation of the 14th
  SN




         Amendment. Sheriff Villanueva has failed to make any meaningful policy change to address this
  OF




         issue.
  Oo




                  81.   On January 12, 2004, inmate Kristopher Faye waskilled by other inmates in County
at
  CC




         custody. Deputies responsible for keeping cell gates closed failed to do so, facilitating this murder.
kth
  &K&




         Inmates with recognized propensities for violence were housed with nonviolent inmates; moreover,
  NO




         the Sheriff's Department was made aware of this inmate misclassification and took no action to
  WW




         discipline or prosecute any County employee responsible for Faye’s murder. Sheriff Villanueva has
mm
  eR




         failed to make any meaningful policy change to addressthis issue.

                  82.   On April 20, 2004, inmate Raul Tinjero was murderedin his cell by inmate Santiage
  TH




         Pineda. Pineda had a known history of violencein the jails, which Sheriff's Department personnel
  DB




         ignored. Such personnel allowed Pineda to kill Tinjero even though Tinjero and Pineda were
  NS




         required to be separated. The Sheriff's department was made aware of Tinjero’s murder and failed
  CO




         to take any appropriate measures against any ofthe jailers responsible for Tinjero’s murder. Sheriff
  YO
rw




         Villanueva has failed to make any meaningful policy change to addressthis issue.
NR
  CF




                  83.   On May 23, 2004, inmate Antonio Fernandez waskilled by other inmates while in
RO
  —-&—




         custody at the County of Los Angeles jail. The homicide investigation disclosed that the deputy
NYO
  NH




         assigned to monitor Fernandez’s dormitory abandoned her post during the time Fernandez was
BB
  WD




         murdered. The Sheriff's Department was made aware of this murderyet failed to take any remedial,
NO
  FF.




         disciplinary, or prosecutorial action against the Deputies who caused Fernandez’s death. Sheriff
NO
  A




         Villanueva has failed to make any meaningful policy change to addressthis issue.
NO
  A




                  84.   On October 24, 2005, inmate Chadwick Shane Cochran was booked and in custody
  NN
NO




         for a nonviolent misdemeanor and housed in the mental health facility of the County jails. On
DS
  oOo




         November16, 2005, Cochran was erroneously housed in the general population, wearing a red

                                                          14
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                                         identification bracelet. This caused other inmates to beat him to death. During the beating, custody
                =
                NO                       Deputies abandonedtheir posts. No deputy responsible for Cochran wasdisciplined in any way.
                                                 85.    In 2007, the Office of Independent Review, acting as special counsel to former
                Ww




                                         Sheriff Baca and his commandstaff, notified them that Sheriff's Deputies were abandoning their
                &




                                         jail posts, sleeping on the job, failing to follow protocols, failing to conduct timely Title 15 safety
                AD




                                         checks, fraudulently doctoring jail records to misrepresent timely Title 15 safety checks, leaving
                DH




                                         inmates unsupervised, and facilitating inmate-on-inmate violence. Plaintiff is informed and believes
                HN




                                         that the County took no disciplinary action against any of the offending Deputies.
                COC




                                                 86.    In September 2012, the Report of the Citizens Commision on Jail Violence found
                Oo




                                         that the Sheriff's Department’s oversightofthe jails had proven overthe years to be abysmal, noting
                  meee
                                    Ne




                                         repeated failures to attend to repeated notifications that preventable violence was going unabated,

                                         and failures to take measures to ensure the safety of inmates from one another or from Deputies.

                                         The Commission specifically found that “[t]he Sheriff failed to monitor and control the use of force
                                 eG




                                         in Los Angeles County jails,” that “LASD senior managementfailed to investigate the excessive

                                         uses of force problems at Men’s Central Jail,” and specifically faulted former Assistant Sheriff

                                         Rhambo for mismanaging the jails and failing to hold Deputies responsible for violations
lUDOlUCUCUMCOlUlUWOWUCNUCUCONNOO




                                         accountable. Sheriff Villanueva has failed to make any meaningful policy change to addressthis.

                                                 87.    From 2013 through 2018, inmate-on-inmate assaults rose 31%. This alarming trend
                                         of inmate-on-immate violence was one of manycriticisms that Sheriff Villanueva levied against
RD




                                         his predecessor Jim McDonnel: https:/Avww.kcrw.com/news/shows/press-play-with-madeleine-
                                         brand/la-sheriff-alex-villanueva-on-his-mistakes-and-whats-next;

                                         https://www.kcerw.cony/news/shows/press-play-with-madeleie-brand/la-sheriff-alex-villanueva-
RD
Ole




                                         on-his-mistakes-and-whats-next/la-sheriff-alex-villanueva-on-his-mistakes-and-violence-at-the-
      ND
UlwYYlUN




                                         county-jail. Yet Sheriff Villanueva has failed to make any meaningful policy change to address
NR




                                         this issue. Indeed, he has been criticized for trying to undermine the investigation and sanctioning
RO
ee




                                         of deputies, going as far as hiring disgraced former Deputy Caren “Carl” Mandoyan, who was
KN
A




                                         fired in 2016 for domestic abuse and stalking. Moreover, Sheriff Villanueva has operated a secret
   N
NO




                                         commission for the purpose of rehiring the few deputies who have been fired for on-duty
NO




                                         misconduct. See https://www_latimes.com/opinion/editorials/la-ed-sheriff-villanueva-truth-
NM
oo




                                         reconciliation-20190309-story.html.

                                                                                          15
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                           88.    In January 2013, the County settled Alarcon v. County ofLos Angeles, No.
     =
     NO            BC45877 (Los Angeles County Sup. Ct. January 8, 2013), in which a deputy punched Alejandro
                   Alarcon in the face without provocation while Alarcon was being booked for drunk driving.
     WY




                   Plaintiff is informed and believes that no deputy was disciplined for this misconduct.
     &




                           89.    In May 2014, in Mancilla v. County ofLos Angeles, No. 12-1342 (C.D. Cal. May
     DD




                   19, 2014), the County settled a case in which Cesar Mancilla was beaten brutally, without
     A




                   provocation, by Sheriff's Deputies at the jail facility known as the Inmate Reception Center,
      NSN




                   resulting in multiple facial fractures, a broken nose, four broken teeth, multiple rib fractures, a
      Se




                   collapsed lung, cauliflower ear, multiple contusions and lacerations, and pepper spray bumsto the
      Oo




                   eyes and skin. Deputies additionally left Mancilla in his cell without food or water, refused to
mh
OS




                   provide him with medical attention, and when Mancilla was eventually hospitalized for the
                   injuries the Deputies inflicted, prevented his mother from visiting him in an effort to cover up their
             Ul
              mh




                   crimes. Plaintiff is informed and believes that no deputy was disciplined for this misconduct.
mn




                          90.     In May 2014, in Rodriguez v. County ofLos Angeles, No. 10-6342 (C.D. Cal. May
         Reh




                   29, 2014), a jury determined that Sheriff's Deputies used excessive force to remove inmates from

                   their cells. Plaintiff is informed and believes that no deputy wasdisciplined for this misconduct.
      Ne




                          91.     In December 2014, in Griscavage a/k/a Archambeau v. CountyofLos Angeles, No.
   OF




                   12-10721 (C.D. Cal. December16, 2014), the County settled a case in which Derek Griscavage
HN




                   a/k/a Derik Archambeau had the comers of his eyes split open, his nose broken, the top ofhis left
      OBO
Dw




                   ear lacerated, and a tooth chipped by Los Angeles County Sheriff's Deputies Jermaine Jackson,
   Oo




                   Jayson Ellis, Karin Cringa, Cynthia Esparza, and others, who beat Griscavage wile he wasinjail,
CS




                   restrained, with his hands cuffed behind his back. After the Deputies beat Griscavage, they refused
   DQ
NH




                   to summon medical carefor him. Plaintiff is informed and believes that none of these deputies
NY




                   were disciplined for their misconduct.
NYO
WD




                          92.     In January 2016, in Guenther v. County ofLos Angeles, No. BC543601 (Los
HY
ek




                   Angeles County Sup. Ct. January 12, 2016) the County of Los Angeles settled a case in which
A
NY




                   decedent Kurt Guenther died by suicide in a County of Los Angeles jail, where he hanged himself
NHN
BO




                   after the County failed to provide adequate mentalhealth care to Guenther, including failing to
NYO
NN




                   place him on suicide watch,failing to monitorhis cell, placing him in an isolation cell, failing to
o
oO




                   provide him with adequate mental health treatment, and failing to remove items from his cell that

                                                                     16
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        he could use to kill himself. No County employee responsible for Guenther was disciplined in
  NO    relation to Guenther’s death.
                93.    In March 2016, in Aguirre v. County ofLos Angeles, No. 9-6222 (C.D. Cal. March
  WD




         1, 2016), the County of Los Angeles settled a case in which Jose Aguirre was beaten and pepper
  Re




        sprayed by Sheriff's Deputies without provocation while handcuffed in thejail shower, causing a
  AH




        fractured orbital bone, as bloody nose, and cutsto his left shin and right hip. Plaintiff is informed
  BO




        and believes that none of these deputies were disciplined for their misconduct.
  NN




                94.    In November2016, in Edwards v. County ofLos Angeles, No. 15-2553 (C.D. Cal.
  F&F




        November9, 2016), the County of Los Angelessettled a case for $1.25 million, where Sheriffs
  uo




        Deputies murdered inmate Earl Lee Johnson by beating him so severely that they fractured his
et
  |]




        skull. After Johnson lost consciousness, the deputies responsible for his murder hanged him by a
  &




        sheet in an unsuccessful effort to cover up the beating. Plaintiff is informed and believes that no
  HO




        deputy responsible for Johnson’s murder was disciplined forit.
mmm
  WY




                95.    In August 2017, in Rosales v. County ofLos Angeles, No. 12-3852 (C.D. Cal.
  ee




        August 15, 2017), the County of Los Angeles settled a case in which Jorge Rosales died in County

        custody after developing acute pancreatitis caused by inadequate medicalcare and being struck in
  eH




        the face, head, and abdomen,and left to die in his cell for a period of two days, during which the
mmm
  DBD




        Deputies responsible for Rosales failed to summon medical care for him. Plaintiff is informed and
  HN




        believes that no deputy responsible for Rosales wasdisciplined for this misconduct.
ow
  DW




                96.    On January 18, 2018, mmate Tony Joseph Evan was brutally battered by inmate
  CO
Nom




        Franklin Reveter, a known violent inmate. Evan died from his injuries on August 20, 2018. No
  DBF




        County employee responsible for Evan or Reveter was disciplined, prosecuted, or even offered
NO
  FF




        remedial training. It is and remains official policy of the County of Los Angelesthatits jails inflict
NY
  NO




        punitive conditions on the pretrial detainees housed there, in flagrant violation of the 14th
PO
  WD




        Amendment.
NO
  &




                97.    In February 2018, in Bloomgarden v. County ofLos Angeles, No. 11-9449 (C.D.Cal.
NO
  WA




        February 5, 2018), the County of Los Angeles settled a case in which Deputies at the Twin Towers
N
  DO




        jail destroyed Howard Bloomgarden’s Torah, and damagedhis prayer books and yarmulke. When
bP
  nN




        Bloomgarden protested, a Deputy kicked his leg above his ankle and forced him to sit in a puddle
NS
  oo




                                                         17
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       that had accumulated on the jail floor. Plaintiff is informed and believes that no deputy was
 NH    disciplined for this misconduct.
               98.    On July 14, 2018, inmate Wesly Alarcio was brutally beaten into a permanent
 WD




       vegetative state—a fate more merciful than plaintiffs locked in syndrome—byinmate Kyler Austin
 ee




       Grey, a known violent predator with whom Alarcio was recklessly and improperly housed. No
 DD




       County employee responsible for Alarcio or Grey was disciplined, prosecuted, or even offered
 DO




       remedial training. It is and remains official policy of the County of Los Angeles thatits jails inflict
 KN




       punitive conditions on the pretrial detainees housed there, in flagrant violation of the 14th
 ee




       Amendment.
 oo




               99.    On September 10, 2018, Special Counsel Merrick Bobb presented to the County of
pont
So




       Los Angeles a report that found inmate abuse at County jails and reported that the County jails are
po
tt




       “understaffed [and] riddled with security flaws that jeopardize[] the lives of guards and inmates.”
bo
_s




       Bobb’s report criticizes the jail for failing to prevent dangerous inmates from being housed with
eo
—




       lower-risk inmates, and that the jails suffer from “lax supervision and /ong-standingjail culture that
—
aa




       has shortchanged accountabilityfor inmate safety and security,” (emphasis added). The County and
a




       Sheriff's Department have done nothing to address Bobb’sreport.
pot




               100.   In October 2019, in Lanier v. Los Angeles County, No. 17-9019 (C.D. Cal. October
nN
pont




       1, 2019), the County of Los Angeles settled a case in which Deputies at the Twin Towersjail
ony
~l




       slammed 60-year-old Gregory Lanier’s face into a table at Twin Towers jail after Lanier asked to
ph
oo




       see a nurse before leaving for court because he was feeling dizzy. Lanier had not been provided with
Oo
_




       his blood pressure medication since he was admittedto the jail, and informed the Deputies of this.
N
oS




       In response, they placed him in an isolation module. Lanier asked to speak to a sergeant, and
tO
pow




       explained that he was feeling dizzy and had not been given his blood pressure medication. In
No
Nw




       response, a Deputy grabbed Lanier’s right arm, placed his left hand on the back of Lanier’s head,
(NO
 Oo




       and slammed the 60-year-old man’s face into a metal table, causing a split lip, broken tooth, and
bo
=




       back pain. Plaintiff is informed and believes that no deputy responsible for this misconduct was
bo
Un




       disciplined forit.
bo
nN




               101.   In October 2019, in Smith v. County ofLos Angeles, No. 18-4214 (C.D. Cal. October
No
~l




       29, 2019), the County ofLos Angeles settled a case in whichjailer Deputy Giancarlo Scotti exposed
ho
oo




       himself to inmate Pauline Smith, demanded to see her breasts, groped her, forced her to masturbate

                                                        18
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                                       him, and threatened to “make things worse for her” if she did not comply. Scotti later forced himself
    NO                                 on Smith on several other occasions. Scotti committed these crimes after having been put on
                                       employment probation forsimilar acts, yet the County continued to allow Scotti to supervise female
    WY




                                       inmates.
    &




                                               102.   In August 2020, in Gallo v. County ofLos Angeles, No. 18-0008 (C.D. Cal. August
    DD




                                       3, 2020), the County of Los Angeles settled a case in which inmate Anthony Gallo, Jr. was beaten
   DO




                                       by other inmates, suffering multiple lacerations to his head, face, and upper body, and suffered a
   NSN




                                       crushed heel and ankle when he jumped from onetier of his cell block to a lower one in orderto
   Oo




                                       escape the beating. Deputies Anthony Miller, Stephan Christopher, and Gustavo Torres Jr.
   Oo




                                       deliberately misclassified Gallo for general population and failed to protect him, in order to allow
ame
   CS




                                       the inmates whoattacked him, who were members of a gang that Gallo used to belong to, to have
   Nl
pm




                                       access to Gallo and an opportunity to attack him.
pm




                                               103.   The only fair-minded conclusion from the foregoing is that the Department’s official
tem
  Ne




                                       policy is that jail should be punitive, despite the well-established principle of law that the 14th
mmr




                                       Amendment “protects a pretrial detainee from . . . punishment.” Kingsley v. Hendrickson, 576 U.S.

                                       389, 397-98 (2015) (quoting Graham v. Connor, 490 U.S. 386, 395 n. 10 (1989).
                                                                         FIFTH CAUSE OF ACTION
  lUOCOlUmUlUCUCNCOlUmOwOWUGNUCUCNNO




                                        Bane Act (Civ. Code § 52.1) — 14th Amendment, U.S. Const. / 4th Amendment, U.S. Const.

                                                                      (Against All Individual Defendants)
wm




                                               104.   Plaintiff realleges, and incorporates herein by their reference, each and every
                                       allegation contained in the foregoing Paragraphs,inclusive, as though fully set forth herein.
RQ




                                               105.   DOES 1-30 are jailers responsible for Plaintiff when Plaintiff was at Men’s Central
NO
  Uhre




                                       Jail.
DO
  BHU




                                               106.   DOES1-30 interfered with or attempted to interfere with Plaintiffs rights under the
KH




                                       14th Amendmentand/or the 4th Amendmentto the United States Constitution by means of threat,
HO
  me




                                       intimidation, or coercion,as set forth in this Complaint.
  CO
NO




                                               107.   Such interference caused Plaintiff's harms.
NO
  BO




                                       HT]
NO
  N
  oOo
No




                                                                                        19
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                                                       SIXTH CAUSE OF ACTION
      YO                                                     Gov’t Code § 845.6
                                                    (Against All Individual Defendants)
      WD




                              108.   Plaintiff realleges, and incorporates herein by their reference, each and every
      Se




                    allegation contained in the foregoing Paragraphs,inclusive, as though fully set forth herein. Further,
      DD




                    all allegations set forth in this cause of action are pled upon information andbelief, unless otherwise
       BDOoO




                    stated.
       NQ




                              109.   DOES1-30 are jailers responsible for Plaintiff when Plaintiff was at Men’s Central
       >




                    Jail.
       uo




                              110.   DOES 1-30 were acting within the scope and course of their employmentatall times
mmm
               CC




                    relevant to this lawsuit.
             &




                              111.   DOES 1-30 knew or had reason to know that Plaintiff was in need of immediate
          YO




                    medical care on or about December 14, 2020.
       WD




                              112.   DOES1-30 failed to take reasonable action to summon immediate medical care for
     &




                    Plaintiff on or about December 14, 2020.

                              113.   DOES 1-30 thereby caused Plaintiff's injuries.
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   CO ND




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SO
WD




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                                                  UNLIMITED COMPLAINT FOR DAMAGES
                      Case 2:22-cv-00232 Document 1-1 Filed 01/11/22 Page 21 of 25 Page ID #:25


                                                                          PRAYER FOR RELIEF
   pea
    NY                                       WHEREFORE,Plaintiff prays for judgment as against Defendants as follows,for:
                                          1) Compensatory damages in an amount according to proofat timeoftrial.
    WY




                                         2) Attomey’s fees and costs pursuant to all applicable statutes or legal principles, including,
   Se




                                         but not limited to: 42 U.S.C. § 1988, Code Civ. Proc. § 1021.5, Civ. Code §§ 52.1, 52.
   DD




                                          3) Costs of suit incurred.
   DN




                                         4) Civil penalties as permitted by statute.
   NIN




                                          5) Prejudgmentinterest on all amounts claimed as permitted by law.
  feo




                                         6) All other general, specific, direct, indirect, consequential, and incidental damages, in an
  oO




                                         amount according to proofat time of tal.
mt
  Nl




                                         7) Such other and further relief as the Court may deem proper.
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ph




                                                                                            ROMERO LAW, APC
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                                      DATED: August 11, 2021
                                                                                            Alan Romero (SBN 249000)
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                                                                                            Edward Wells (SBN 321696)
                                                                                            Attorneys forPlaintiff
                                                                                            HOWARD WILLIAMS




                                                                       DEMAND FOR JURY TRIAL
rw




                                             Plaintiff hereby makes demand for Jury Trial, and has concurrently posted the jury fee
RO




                                      deposit.
NO
 llr




                                                                                            ROMERO LAW, APC
NO
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                                                                                            Chkd
NN




                                      DATED: August 11, 2021
NO
 ee




                                                                                            Alan Romero (SBN 249000)
NO
 A




                                                                                            Edward Wells (SBN 321696)
                                                                                            Attorneys for Plaintiff
NO
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                                                                                            HOWARD WILLIAMS
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NO
moO
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                                                                   UNLIMITED COMPLAINT FOR DAMAGES
Case 2:22-cv-00232 Document 1-1 Filed 01/11/22 Page 22 of 25 Page ID #:26




                            EXHIBIT 1
  Case 2:22-cv-00232 Document 1-1 Filed 01/11/22 Page 23 of 25 Page ID #:27



                                 March26, 2021

                                 TheHonorable JudgeRichard M,Goul
                                 Judgeofthe:SuperiorCourt
  LAC+USC
                                                                                                 Se
  MEDICALCENTER
                                 Department$21, GovernorGeorge DeukmejianCourthouse.
                                 275:MagnoliaAvenue
                                 LongBeach,California 90802
  Los AngelesCounty
 BoardofSupervisors
                                 Re:Howard A. Williams
                                                                                                     APR O1 2021
             Hilda L. Solis                                                                                               seeie
                 First Disvict      MRUN B        rofor\ter.                                 ShortRs Cantor, Exacon:
                                                                                                  By:Lindaay Moset. OC..y
    MarkRidley-Thomas            DearJudge Goul,
             Shella Kueh!
                Third Distict    Pt wasInitially admitted to LACUSC Medical Centeron12/14/20 afterfoundhaving
             JaniceHahn          seizuresin thejail.
               FourthDisbict
                                 HewasbroughttotheLaceusc MedicalCenterwhereworkupwasdoneInthe ED. HW.
          KathrynBarger          wasfoundtohavehadamajor.‘stroke in thecentralpartofhis brainwhichhasleft him:
                                 totallyparalyzed andunableto move exceptforhiseyes. ThisIsalso Knownas‘locked in
GonnieBilitch,RN, MSN.           syndrome’wheresomeone is awake,alert,and awarebut unable tocommunicateor.
 InlerimChiet ExecutveOfficer.   ‘move.
     BradSpeliberg, MD.
         ‘ChistMedical Officer   Prognosisforrecovery:Perneurology:ThereIsalowexpectation forrecoveryofthe
         Laura Sarff,RN          ability.toIndependentlycareforhimself. Limitedresearchshowsthatthereinan.
 InterimChiefOperatingOtficer               Jikelinoodofrecoverytothepointofambulationonlywhenthereis
         teabelMilan,RN          improvement|in muscle movementsInthe:1°3 -4months afterthestroke, This’
          Chief NursegOticer     individual is young but has shownminimalimprovementtodate,decreasingexpectation
                                 forevenalimitedrecovery.
       1200 N.StateStreet
     InpatientTower(FT)          Atthistime,ove             ifterthestrokethisindividualIsstill paralyzedinall4
  29Floor,, Room62k100           extremities(quadriplegia)andhasnotbeenableto.communicate.
   ‘LosAngeles,CA90033
       “Tet:(323)409-2800.
                                 Currently,asof3/24/2021,hecan:
      ‘Fox:(323)441-8030
Case 2:22-cv-00232 Document 1-1 Filed 01/11/22 Page 24 of 25 Page ID #:28




                            EXHIBIT 2
                Case 2:22-cv-00232 Document 1-1 Filed 01/11/22 Page 25 of 25 Page ID #:29

                                                       CLAIMS FOR DAMAGES                                                                               TIME STAMP
                                                                                                                                                      OFFICE USE ONLY

 COUNTY OF LOS ANGELES                                TO PERSON OR PROPERTY                                                                       BOARD OF SUPERVIS¢ RS
                                                                                                                                                  COUNTY OF Lo ANGELES
                                            INSTRUCTIONS;
                                                                                                                                                         FILEQ
                                                   Read claim thoroughly.




                                           aon =
                                                   Fill out claim as indicated; attach additional informationif necessary.                        HU MAS 3)              AID [|
                                                   Please use oneclaim form for each claimant.
                                                   Return this original signed claim and any attachments
                                                   Supporting your claim. This form must be signed.
                                            DELIVER OR U.S, MAIL TO:
                                            EXECUTIVE OFFICER, BOARD OF SUPERVISORS, ATTENTION: CLAIMS
                                            500 WEST TEMPLE STREET, ROOM 383,
                                            KENNETH HAHN HALL OF ADMINISTRATION, LOS ANGELES, CA 90012
                                            (213) 974-1440
 1 A] wre         Ms. [ove         LAST NAME                   FIRST NAME                ML]    48. WHY 00 YOU CLAIM COUNTY IS RESPONSIBLE?
                                Williams                     Howard                     A        If County employees had attended to Claimantin less than 3 hours ofhis
 2. ADDRESS OF CLAIMANT                                                                          injury, he could have received a TPA treatment which would have
                                                                                                 dissolved the blood clot and prevented theinjury from becoming as
 Cry                                                SIRE                     3IP CODE           serious and permanentas it is now due to inaction and lack of
                                                                                                supervision or care. County employeesfailed to conduct adequate celi
                                                                                                checksor otherwise take the minimal steps that would have resulted in
 HOME PHONE                                             ALTERNATE PHONE                         the protection of Claimant'slife and wellbeing, and failed to summon
 (626) 396-9900                                          (626) 396-9900                         immediate medical care for Williams. The harm was caused, or allowed
 3. CLAIMAINT'S BIRTHDATE:                            4. CLAIMANT'S SOCIAL SECURITY NUMBER      to be caused by, agent-employeesof the County whofailed to protect
                                                                                                Claimant. if normal cell check and other required safety protocols had
                                                                                                been followed, the injury to Claimant could have been avoided or
 5. ADDRESS TO WHICH CORRESPONDENCE SHOULD BE SENT                                              substantially reduced in terms of permanent harm to Claimant. Countyis
 80 S. Lake Avenue, Suite 880                                                                   fiabie under Gov. Code §§ 815.2, 820, 845.6, and has optional duty to
                                                                                                indemnify public employee under section 844.6(d); the negligent,
 STREET                              cry                         STATE       2iP CODE           reckless, orwillful public employeesare liable under section 844,6(d).
                 Pasadena                                     CA            91101
                                                                                               11. NAMES OFANY COUNTYEMPLOYEES (AND THEIROEPARTMENTS)
‘i 3/13/20)OFi 1:59pm                                                                              INVOLVEDIN INJURY OR DAMAGE(IF APPLICABLE):
 7. WHERE DID DAMAGE OR INJURY OCCUR?                                                           NAME                                          DEPARTMENT
 441 Bauchet Street, Room 5000                                                                  Unknown
STREET                              CITY                        STATE        ZIP CODE           RAME                                         DEPARTMENT

DESCRIBE IN DETAIL HOW DAMAGE OR INJURY OCCURRED AND LIST DAMAGES                              12. WITNESS(ES) TO DAMAGESORINJURY: LIST ALL PERSONS AND
(attach copies of receipts or repair estimates):                                                   ADDRESSES OF PERSONS KNOWN TO HAVE INFORMATION:
Oneither 12/13/20 or 12/14/20, Claimant suffered a traumatic injury to his
head,believed to have beeninflicted by a cellmate. The bluntforce          NAME
trauma resulted in pontine-ischemic stroke. Due to Claimantbeing left        Unknown
unattended and being deprived oflifesaving emergency medical care,          ADDRESS
Claimantis now suffering from Locked-In-Syndrome, andis in and out of
consciousness, only sometimes being able to communicate by blinking.        NAME                                                              PHONE
Doctors reported that Claimant is expected to be onlife-support for the
remainderof his life, and will not be able to survive without a breathing
tube at all times.                                                         ADDRESS.

9. WERE POLICE OR PARAMEDICS CALLED?                   YES       nof™}                         13, IF PHYSICIAN(S) WERE VISTED DUE TO INJURY, PROVIDE NAME, ADDRESS,
                                                                                                   PHONE NUMBER, AND DATE OF FIRST VISIT FOR EACH:
(IF YES) AGENCY'S Name LASD                                      report # Unknown              DATE OF FIRST VISIT       PHYSICIAN'S NAME                   PHONE|
                                                                                               12/14/2020        Various Doctors
CHECKIF LIMITED CIVIL CASE LC]                                                                 STREET                                          CiY     STATE             DE
                                                                                               LA County-USC Hospital                       Los Angegy CA            90033
 TOTAL DAMAGES TO DATE                  TOTAL ESTIMATED PROSPECTIVE DAMAGES                    DATE OF FIRST VISIT       PHYSICIAN'S NAME                   PHONE
s 25,000,000.00                          s 25,000,000.00                                       STREET                                           cry        STATE ZIP CODE
                                                                         THIS CLAIM MUST BE SIGNED
                                        NOTE: PRESENTATION OF A FALSE CLAIM IS A FELONY (PENAL CODE SECTION 72)
CLAIMS FOR DEATH, INJURY TO PERSON OR TO PERSONAL PROPERTY MUSTBE FILED NOT LATER
                                                                                  THAN 5 MONTHS AFTER THE OCCURRENCE,
(GOVERNMENT CODE SECTION 5114.2)

ALL OTHER CLAIMS FOR DAMAGES MUSTBE FILED NOT LATER THAN ONE YEAR AFTER THE OCCURRENCE
                                                                                          , (GOVERNMENT CODE SECTION 911.2)
14, PRINT OR TYPE NAME                         DATE        115. SIGNATURE OF CLAIMANT PERSONFILING ON HISHER     DATE
                                                                                                  F GIVING RELA             TOCLAY
Alan Romero (SBN 249000                                            03/26/2021                                                                           03/26/2024
                                                                                                                                      na
                                                                                                     eran            ¥
                                                                                                                                                                Revised 11-2016
